       Case 1:18-cv-09936-LGS-SLC Document 85 Filed 02/21/19 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        : No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X

         AFFIRMATION OF CYNTHIA CHEN IN SUPPORT OF DEFENDANTS’
               MOTION TO DISMISS THE AMENDED COMPLAINT

        I, Cynthia Chen, hereby affirm as follows:

        1.      I am an attorney duly admitted to practice in the State of New York and before

this Court.

        2.      I am associated with the law firm of Spears & Imes LLP, counsel for Defendants

in the above-captioned action.

        3.      I respectfully submit this affirmation in support of Defendants’ Motion to Dismiss

the Amended Complaint (ECF No. 83).

        4.      Attached hereto as Exhibit 1 is a true and correct copy of ACN Goes Primetime

with Encore Appearance on Donald J. Trump’s The Celebrity Apprentice, ACN, Mar. 16, 2011.

Paragraph 135 of the Amended Complaint quotes material contained in Exhibit 1.
      Case 1:18-cv-09936-LGS-SLC Document 85 Filed 02/21/19 Page 2 of 3




       5.      Attached hereto as Exhibit 2 is a true and correct copy of Barbara Seale, “The

Wizard of Winning”, Success From Home, July 2012. Paragraph 172 of the Amended

Complaint quotes material contained in Exhibit 2.

       6.      Attached hereto as Exhibit 3 is a true and correct copy of Anne Archer, “Catching

the Eye of a Billionaire”, Success From Home, Aug. 2011. Paragraph 152 of the Amended

Complaint quotes material contained in Exhibit 3, and Paragraphs 164 and 175 of the Amended

Complaint refer to Exhibit 3.

       7.      Attached hereto as Exhibit 4 is a true and correct copy of Anne Archer, “Direct

Selling in the Age of Donald J. Trump”, Success From Home, Aug. 2010. Paragraph 115 of the

Amended Complaint quotes material contained in Exhibit 4, and Paragraphs 132, 134, and 164

of the Amended Complaint refer to Exhibit 4.

       8.      Attached hereto as Exhibit 5 is a true and correct copy of Anne Archer, “Thinking

Big with Donald Trump and ACN”, Success From Home, Sept. 2014. Paragraph 114 of the

Amended Complaint quotes material contained in Exhibit 5, and Paragraphs 119 and 149 of the

Amended Complaint refer to Exhibit 5.

       9.      Attached hereto as Exhibit 6 is a true and correct copy of excerpts from ACN

Newsmagazine, Q2 2007. Paragraph 92 of the Amended Complaint refers to material contained

in Exhibit 6, and Paragraph 93 of the Amended Complaint refers to Exhibit 6.

       10.     Attached hereto as Exhibit 7 is a true and correct copy of an unexecuted ACN

Independent Business Owner Agreement (“IBO Agreement”) issued by ACN in 2013.

       11.     Attached hereto as Exhibit 8 is a true and correct copy of an unexecuted ACN

IBO Agreement issued by ACN in 2014.




                                                2
       Case 1:18-cv-09936-LGS-SLC Document 85 Filed 02/21/19 Page 3 of 3




       12.     Attached hereto as Exhibit 9 is a true and correct copy of an unexecuted ACN

IBO Agreement issued by ACN in 2016.

       13.     Paragraphs 242 and 243 of the Amended Complaint allege that Plaintiff Richard

Roe viewed on YouTube an episode of The Celebrity Apprentice in which Mr. Trump stated he

knew ACN well. Attached hereto as Exhibit 10-T is a transcript of ACN ON THE

APPRENTICE, YouTube, uploaded on Jul. 31, 2011, available at https://youtube.com/watch?v=

mxTqWtNSV2w, which contains substantially the same language as Plaintiffs reference in

Paragraph 243 of the Amended Complaint. I have watched and listened to the YouTube

recording referenced herein and am therefore able to state that Exhibit 10-T fairly and accurately

reflects what is audible in that recording.

       I affirm under penalty of perjury that the foregoing is true and correct.

Dated: February 21, 2019
       New York, New York

                                                     By: /s/ Cynthia Chen




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